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                                                                                           E-FILED
                                                            Tuesday, 03 October, 2017 04:15:36 PM
                                                                      Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF ILLINOIS
                         SPRINGFIELD DIVISION

UNITED STATES OF AMERICA                       )
                                               )
             Plaintiff,                        )
                                               )
      v.                                       )      Case No. 17-cr-30033
                                               )
JEFFERY NELSON,                                )
                                               )
             Defendant.                        )

              INFORMATION CHARGING PRIOR OFFENSES

      COMES NOW the United States of America, by Patrick D. Hansen, Acting

United States Attorney for the Central District of Illinois, and Assistant United States

Attorney Matthew Z. Weir, and hereby gives notice pursuant to Title 21, United

States Code, Section 851(a)(1), of the following prior conviction of the defendant

which may qualify as a basis for a sentencing enhancement:

      1.     Illinois v. Jeffery Nelson, 2002-CF-115, Sangamon County Circuit

Court, for manufacture/delivery of a controlled substance, Class 1 felony.

      2.     The effect of this prior conviction for a felony drug offense is as

follows:
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Inasmuch as Count One involves the distribution of 28 grams or more of cocaine

base (crack), the defendant is subject to a sentence of not less than 10 years and up

to life imprisonment, a fine not to exceed $8,000,000, and a supervised release

term of not less than 8 years.


                                       Respectfully submitted,

                                       PATRICK D. HANSEN
                                       ACTING UNITED STATES ATTORNEY

                                       /s/ Matthew Z. Weir
                                       Matthew Z. Weir, IL Bar No. 6304257
                                       Assistant United States Attorney
                                       United States Attorney’s Office
                                       318 South 6th Street
                                       Springfield, IL 62701
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                                       Email: Matt.Weir@usdoj.gov




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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 3, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to the following counsel of record: Doug Quivey.

                                      /s/ Matthew Z. Weir
                                      Matthew Z. Weir
                                      Assistant United States Attorney
                                      United States Attorney’s Office




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